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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL COMMITTEE, et
al.,

             Plaintiffs,
                                            20-cv-249-wmc
       v.

MARGE BOSTELMANN, et al.,

             Defendants,

       and

WISCONSIN LEGISLATURE, REPUBLICAN
NATIONAL COMMITTEE, AND
REPUBLICAN PARTY OF WISCONSIN,

             Intervening-Defendants.


SYLVIA GEAR, et al.,

             Plaintiffs,

        v.                                  20-cv-278-wmc

MARGE BOSTELMANN, et al.,

             Defendants,

       and

WISCONSIN LEGISLATURE, REPUBLICAN
NATIONAL COMMITTEE, AND
REPUBLICAN PARTY OF WISCONSIN,

             Intervening-Defendants.


CHRYSTAL EDWARDS, et al.,

             Plaintiffs,
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         v.                                              20-cv-340-wmc

 ROBIN VOS, et al.,

               Defendants,

         and

 REPUBLICAN NATIONAL COMMITTEE,
 AND REPUBLICAN PARTY OF WISCONSIN,

               Intervening-Defendants.


 JILL SWENSON, et al.,

               Plaintiffs,

         v.                                              20-cv-459-wmc

 MARGE BOSTELMANN, et al.,

               Defendants,

         and

 WISCONSIN LEGISLATURE, REPUBLICAN
 NATIONAL COMMITTEE, AND
 REPUBLICAN PARTY OF WISCONSIN,

               Intervening-Defendants.


   EMERGENCY MOTION TO COMPEL PRODUCTION OF DOCUMENTS AND A
      RULE 30(b)(6) DEPOSITION AGAINST INTERVENING DEFENDANTS
     REPUBLICAN NATIONAL COMMITTEE AND REPUBLICAN PARTY OF
                               WISCONSIN

       Plaintiffs Jill Swenson, Melody McCurtis, Maria Nelson, Black Leaders Organizing for

Communities, and Disability Rights Wisconsin hereby move this Court, through undersigned

counsel, for an order pursuant to Rule 37(a)(3)(B)(ii), (iv) to compel the Intervening Defendants

Republic National Committee and Republican Party of Wisconsin (“RNC/RPW”) to provide

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documents in response to certain portions of Plaintiffs’ requests for production, and to designate

and make available a deponent pursuant to Rule 30(b)(6). Plaintiffs seek an emergency hearing

and resolution on this matter tomorrow, Monday, July 26, 2020, because discovery is scheduled

to close this Thursday, July 30, 2020. See ‘249 Dkt. Nos. 232, 234.

       The parties have met and conferred and engaged in extensive email correspondence in an

attempt to resolve these issues without burdening the Court but, despite Plaintiffs’ efforts to

narrow the issues and otherwise address the RNC/RPW Defendants’ objections, no negotiated

resolution has been possible and the parties are at an impasse.

       The discovery Plaintiffs seek is narrowly tailored to obtain factual information from

RNC/RPW related to a central factual issue in this case: whether the relief that Plaintiffs seek

would affect the integrity of the upcoming election or is otherwise feasible. Plaintiffs believe

RNC/RPW may have evidence tending to support Plaintiffs’ arguments on this point, yet

RNC/RPW has flatly refused to engage in fact discovery, disclosing not a single document and

refusing to designate a deponent.

       The RNC/RPW Defendants want to have it both ways. They insisted on obtaining party

status in this litigation, but at the same time argue that they need not disclose factual information

in response to discovery. The RNC/RPW Defendants led the charge on Friday in a three-hour

deposition of the Swenson Plaintiffs’ election-administration expert, Kevin Kennedy—and yet

they say that they are under no obligation to produce a deponent to answer questions on their

behalf. The RNC/RPW Defendants claim that they’re free to make arguments to this Court that

cite voluminous records of all other parties to the case—but that they need not produce a stitch of

evidence themselves. See RNC/RPW Consol. Opp. Br. at 1, ‘249 Dkt. No. 455 (“[RNC and




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RPW] incorporate by reference the arguments of the Wisconsin Legislature . . . which

comprehensively refute the legal and factual basis offered by Plaintiffs.” (emphasis added)).

        The crux of the RNC/RPW Defendants’ position is thus that regular discovery rules do

not apply to them. This is particularly perplexing, given that the Swenson Plaintiffs did not sue

the RNC or RPW; rather, they insisted on becoming parties to this case over the Swenson

Plaintiffs’ objections. See ‘459 Dkt. No. 38. Now that they are parties to this litigation, the

RNC/RPW Defendants cannot unilaterally dictate the circumstances in which they will

participate.

        The narrow document discovery and Rule 30(b)(6) testimony that the Swenson Plaintiffs

seek is highly relevant to their claims and to the RNC/RPW’s still-unspecified and unsupported

election-integrity concerns. For example, the Swenson Plaintiffs are entitled to obtain discovery

regarding whether the waiver the Swenson Plaintiffs seek of the absentee-ballot witness

requirement and statutory prohibition on out-of-county poll workers (among other relief) would

harm (or, more likely, improve) the integrity of the election. Moreover, the fact that RNC/RPW

have chosen not to put forward their own affirmative evidence or witnesses on these matters does

not mean that Plaintiffs are somehow prohibited from seeking those facts through discovery.

        Indeed no other party has outright refused to produce a deponent or respond to

substantive discovery requests. Even third parties like Milwaukee and Green Bay have complied

with time-sensitive discovery requests. The RNC/RPW Defendants do not get to play by their

own rules, and the Swenson Plaintiffs respectfully request that the Court order the RNC/RPW to

respond this week to targeted discovery requests. Specifically, Plaintiffs ask the Court to order

the RNC/RPW to designate a deponent on the limited set of issues described below and to make




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the deponent available by July 30, 2020; Plaintiffs further ask the court to order RNC/RPW to

produce related documents 24 hours in advance of the deposition.

I.     Plaintiffs seek to obtain narrowly-targeted discovery aimed at developing the factual
       record on questions that RNC/RPW have contested.

       On July 10, 2020, Plaintiffs served identical Rule 34 requests for production on both

RNC and RPW seeking 11 categories of documents; Plaintiffs also served deposition notices

under Rule 30(b)(6) seeking testimony on 9 topics. Decl. of Jonathan Manes ¶ 3, Exs. A–C.

(“Manes Decl.”). Ten days later, RNC/RPW issued blanket objections to all of Plaintiffs’

requests for production, producing not a single document, and failing to designate a 30(b)(6)

deponent—a position it has maintained to date. Id. ¶ 10; Ex. L.

       Despite RNC/RPW’s blanket objections, Plaintiffs file this motion seeking disclosure

only on a narrow subset of its original requests that represent the most essential factual

information likely in RNC/RPW’s possession relevant to Plaintiffs’ claims. Specifically, with

respect to documents, Plaintiffs only seek disclosure of materials in RNC/RPW’s possession that

may actually support Plaintiffs’ contention that the relief they seek will not impair any interests

RNC/RPW asserts relating to election integrity, risk of fraud, administrability, and feasibility. In

particular, Plaintiffs seek disclosure of documents responsive to the following two items of their

requests for production.

               6. All Documents and Communications that tend to show that the integrity of the
               November election would be harmed if all or any part of the Requested Relief
               were implemented.

               8. All Documents and Communications that relate to the Feasibility of the
               Requested Relief or any part thereof.
               [Manes Decl. Ex. A.]




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Plaintiffs have agreed to narrow these requests so that they only seek “Documents” and so the

term “Requested Relief” refers only to the specific items of relief sought in Plaintiffs pending

motion for a preliminary injunction. See Manes Decl. ¶¶ 14, 21, Exs. G, K.

       Similarly, Plaintiffs seek to take a deposition of a representative of RNC/RPW solely on

the topic of the “[f]easibility of implementing the Requested Relief.” See Notice of 30(b)(6)

Deposition, Schedule A, § 2 ¶ 5; Manes Decl. Ex. B–C. “Feasibility” is defined in Plaintiffs’

requests to mean “the ability and/or practicality of implementing the Requested Relief, including as

to any administrative burdens or costs, any concerns about the ability of the Wisconsin Elections

Commission to implement the Requested Relief, and any concerns Related To fraud or election

security Related To the Requested Relief.” Manes Decl. Ex. A, at 5; Ex. B, at 6; Ex. C, at 6.

       Plaintiffs have further proposed to limit scope of the deposition to the feasibility of

certain specific aspects of their requested relief. What follows is the description of those topics as

communicated to RNC/RPW’s counsel, listing the particular issue and illustrating for RNC/RPW

the type of relevant factual information likely in their possession with respect to each.

               1. Permitting out-of-county pollworkers – your clients are likely to have
               factual information tending to show that having out-of-county voters serve as
               pollworkers promote election integrity or would not impede the asserted state
               interests in having a “decentralized” electoral system.

               2. Waiver of witness-signature requirement with respect to COVID-
               vulnerable or -infected voters -- factual information in your clients’ possession
               they have little or no evidence of fraud with respect to Wisconsin voters already
               permitted to vote without a witness (i.e. those “indefinitely confined”) or in other
               jurisdictions that do not require a signature.

               3. Early voting locations – factual information that having flexibility to
               designate additional early voting locations before November would nor harm and
               may promote voter confidence and election administrability, based for example
               on the experience in April 2020.

               4. Postmark deadline – factual information that a deadline requiring ballots be
               postmarked by election day does not impair the asserted interest in orderly


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               election administration and in fact may have the opposite effect, based on your
               clients’ experience in April 2020 and in other jurisdictions.

               5. Early canvassing of absentee ballots – factual information that canvassing
               absentee ballots early does not create a risk of disclosure of election results in
               other states, with reference to your clients’ experience in others states that permit
               absentee ballots to be counted before election day.

               6. Additional pollworkers – any factual information showing that that
               RNC/RPW coordinated with the WEC to ensure that there were sufficient
               pollworkers for the April election in any local Wisconsin jurisdiction, which
               would tend to show that such relief is feasible in the present case, contrary to your
               clients’ argument.

               7. Drop boxes – factual information in your clients’ possession that the use of
               drop boxes to return absentee ballots has improved the integrity of elections by
               ensuring ballots are delivered directly to local clerks, rather than via USPS.

               8. Timing of requested relief – factual information that the timing of court-
               ordered relief Plaintiffs seek in their PI motion would not result in significant
               voter confusion, could increase rather than deter participation, and is otherwise
               administrable, based on experience in April 2020 or otherwise.
               [Manes Decl. Ex. K.]

       This discovery is directly relevant both to Plaintiffs’ claims and RNC/RPW’s defenses to

those claims. See Rule 26(b)(1). RNC/RPW’s opposition to Plaintiffs’ motion for a preliminary

injunction asserts that the relief Plaintiffs seek would impair RNC/RPW’s asserted interests in

election integrity, administrability, and the like. They make these arguments both in their own

brief, see ‘249 Dkt. No. 455, at 3, and because they “incorporate by reference” all of the

arguments in the Wisconsin Legislature’s brief, id. at 1; see also ‘249 Dkt. No. 454, at 41–68

(Wisconsin Legislature’s Omnibus Brief in Opposition). The discovery sought here is thus

“proportional to the needs of the case” particularly “considering the importance of the issues at

stake.” Rule 26(b)(1).

       There is little question that the discovery sought here will potentially shed light on live

factual disputes that are central to this Court’s resolution of the pending motions. Whether and to

what extent a given remedy will promote or harm the election’s integrity or prove feasible

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depends on facts about how elections are run and how such remedies will affect voters and

candidates. As this Court has previously observed, in its decision granting RNC/RPW’s motion

to intervene as defendants, “the RNC/RPW have a defense that shares common questions of

law and fact with the main action; namely, they seek to defend the challenged election laws to

protect their and their members’ stated interests -- among other things, interest in the integrity of

Wisconsin’s elections.” Opinion and Order, No. 20-cv-459, Dkt. No. 38, at 4 (emphasis added).

       There is strong reason to believe that RNC/RPW possess factual information responsive

to Plaintiffs’ requests and that discovery is therefore warranted in light of “the parties’ relative

access to relevant information.” Rule 26(b)(1). RNC/RPW are, of course, active participants in

the elections; they observe how the election system operates up close; they plainly have deep

concerns about fraud, administrability, and similar matters; and they have experience

illuminating how various election procedures—or changes thereto—have affected elections in

the past. They are thus in a special position to have factual information about whether any of the

asserted concerns about election integrity or feasibility are or are not engaged by particular items

of relief that Plaintiffs are seeking in this litigation. Because RNC/RPW are parties to this action,

Plaintiffs are entitled to factual information in their possession that may undermine the factual

predicate for the arguments they are advancing.

II.    Plaintiffs have attempted to resolve these issues in good faith, but the Intervening
       Defendants have taken an uncompromising position that they need not disclose any
       factual evidence in response to discovery requests.

       Plaintiffs served their discovery requests on July 10, 2020. Plaintiffs took prompt action

to ensure that the planned discovery could be completed by July 30, 2020. On July 17, 2020,

before responses were due, Plaintiffs inquired with opposing counsel to ensure the date for the

noticed 30(b)(6) deposition was mutually agreeable. Manes Decl. ¶ 9. In response, counsel for

RNC/RPW indicated “serious concerns” about the “need for or propriety of the noticed
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depositions” but suggested that, if necessary, the deposition could move forward on July 28 or

29, 2020. Id. Counsel for RNC/RPW also proposed a meet-and-confer on Tuesday, July 21,

2020, by which time they would have served their objections and responses. Id.

       On Monday, July 20, 2020, RNC/RPW served their objections and responses. They

declined to produce any responsive documents and did not designate a Rule 30(b)(6) deponent.

Manes Decl. ¶ 10, Exs. E-F. With respect to the subjects at issue in this motion, Intervening

Defendants’ primary objection was that those matters were somehow purely legal issues,

objecting on the grounds that “Intervenor-Defendants’ legal arguments on the propriety of any

relief in this case are set forth in its pleadings (including the oppositions to the pending motions

for preliminary injunctions) and there is no factual issue to which these documents or

communications could conceivably be relevant.” Id. Ex. E, at 7–8. Plaintiffs’ counsel emailed

Intervening Defendants’ counsel that day, seeking opposing counsel’s availability to meet and

confer the following day. Id. ¶ 13.

       Having received no response, Plaintiffs’ counsel on July 22, 2020, again emailed

opposing counsel seeking a meet and confer and this time explaining in some detail Plaintiffs’

disagreements with Respondent’s objections. Id. ¶ 14, Ex. G. In particular, Plaintiffs emphasized

their need for factual information in RNC/RPW’s possession relevant to whether Plaintiffs’

requested relief was feasible or would otherwise impair election integrity. Plaintiffs expressed

their strong disagreement with RNC/RPW’s assertion that these are not subjects of “factual”

dispute. Id. Ex. G. However, in an effort to avoid litigation, Plaintiffs suggested they might well

be willing to drop their demands for fact discovery if RNC/RPW would stipulate that they would

not in fact rely on any factual record—but rest solely on the case law and legal argument—to

attempt to make their arguments about election integrity. Id.



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        On Thursday, July 23, 2020, the parties met and conferred. Id. ¶ 15. During the meet and

confer, Plaintiffs’ counsel understood RNC/RPW’s counsel to represent that they intended to

make their arguments with respect to the asserted interest in election integrity by relying only on

the statutes, case laws and “logic,” without reference to “adjudicative facts.” Id. On that

understanding, Plaintiffs suggested they may be willing to forego fact discovery if RNC/RPW

would formally stipulate that they would not rely on any facts to make these arguments. Id.1

        The next morning, RNC/RPW’s counsel sent an email clarifying that RNC/RPW did not

intend to make purely legal arguments, but that they “have and will continue to defend these

laws based on the existing record” Id. Ex. H. RNC/RPW stated that they “do not intend to offer

any additional factual evidence as to the feasibility of Plaintiffs’ proposed relief or the public

interests implicated by various Wisconsin election laws,” id. (emphasis added), but their

response made clear to Plaintiffs—for the first time—that they did in fact intend to rely on the

factual record developed by other parties on those questions, id. ¶¶ 16–17.

        In subsequent correspondence RNC/RPW confirmed that they would not agree to forgo

reliance on factual evidence but instead reserved the right to rely on the “existing record”—

including deposition testimony and other evidence elicited from other parties in discovery—in

order to make their argument that the requested relief we seek is not feasible or would impair

asserted state interest. Id. ¶¶ 16–18, Exs. I, J. RNC/RPW declined to stipulate—as Plaintiffs had

proposed—that they would not rely on the factual record and instead make purely legal

arguments regarding the alleged effects of Plaintiffs’ requested relief on the integrity of the

election and related concerns about fraud, feasibility, and the like. Id. Exs. I, J. The email


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  Based on Plaintiffs’ understanding that RNC/RPW intended not to rely on factual argumentation, they also
proposed to serve narrowed contention interrogatories in order to better understand the parameters of RNC/RPW’s
position. Plaintiffs withdrew that proposal when it became clear, as discussed presently, that RNC/RPW actually
intended to make its arguments about election integrity on the basis of disputed facts.

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correspondence made it clear that RNC/RPW were unlikely to agree to a Rule 30(b)(6)

deposition or other fact discovery. Id. Exs. I, J.

        That same day, counsel for RNC/RPW took the deposition of Plaintiff’s expert on

election administration, Kevin Kennedy. Id. ¶ 20.

        The next day, July 25, 2020, Plaintiffs emailed RNC/RPW’s counsel to further clarify

their position. Plaintiffs explained that, in light of RNC/RPW’s evident intention to rely on the

factual record developed by other parties in order to argue against the feasibility of Plaintiffs’

requested relief, Plaintiffs would not be willing to forego obtaining potentially helpful factual

information from RNC/RPW. Id. Ex. K. In an effort to narrow the dispute and make it as

concrete as possible, Plaintiffs provided concrete illustrations—reproduced above—about the

types of factual information likely in RNC/RPW’s possession that would be material and

potentially helpful to Plaintiffs’ arguments on this point. Id. Plaintiffs proposed to narrow the

topics for any 30(b)(6) deposition to those topics and also to limit the scope of document

demands, as described above. See supra 5-6; Manes Decl. Ex. K. Plaintiffs proposed to meet and

confer the following day if RNC/RPW’s counsel believed it might be possible to reach a

negotiated resolution and requested a response either way by July, 26, 2020, at 3pm. Id.

        Having received no response, Plaintiffs followed up again by email on July 26, 2020 at

5pm CT. In response, counsel for RNC/RPW reiterated his refusal to designate a 30(b)(6)

deponent or to disclose any documents, even as narrowed. Manes Decl. Ex. L. Plaintiffs replied,

informing RNC/RPW that they would file this emergency motion seeking the Court’s

intervention. Id. Ex. M.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs ask the Court to issue an order pursuant to Rule 37

compelling Intervening Defendants RNC/RPW immediately to designate a deponent pursuant to
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30(b)(6) to discuss the specific topics identified above, and to make the designee available for a

deposition no later than July 30, 2020; and compelling RNC/RPW to disclose documents

responsive to Plaintiffs’ requests for production numbered 6 and 8, narrowed as described above,

at least 24 hours before the deposition is scheduled to commence. Plaintiffs reserve their right to

seek recovery of their attorney’s fees and expenses for making this motion, as provided by Rule

37(a)(5)(A).



Respectfully submitted,


 /s/Jonathan Manes
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